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                                                                       March 3, 2023

 VIA ECF


 Honorable Judge Nicholas G. Garaufis
 United States District Court
 Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, New York 11201


        Re:     United States of America et al. v. Shiel Medical Laboratory et al., Civil Action
                No. 1:16-cv-01090-NGG-TAM
                Plaintiffs’ Request for Pre-Motion Conference


 Dear Honorable Judge Nicholas G. Garaufis:

         I represent United States of America ex rel YNKDY-2, State of New York ex rel YNKDY-
 2, and State of New Jersey ex rel YNKDY-2, Plaintiffs in the above-captioned action, and I submit
 the foregoing letter to request a pre-motion conference in anticipation of Plaintiffs’ impending
 motion for leave to file an amended complaint pursuant to Rule 15(a) of the Federal Rules of Civil
 Procedure.

                                                  I.

         On March 4, 2016, Plaintiffs filed an initial complaint that asserted several causes of action
 against Defendants Shiel Medical Laboratory; Shiel Holdings, LLC; Fresenius Medical Care; BIM
 Medical, Inc.; Jack Basch; and Does 1-10, Inclusive, et al., for violations of federal and state law.
 Plaintiffs thereafter filed a First Amended Complaint and a Second Amended Complaint, in which
 each of the fictitiously named Doe defendants remained unnamed.

          Each of the fictitiously named Doe defendants is an individual or corporation which has
 submitted or caused the submission of false claims, acting in concert with one or more of the other
 defendants. Plaintiffs now have sufficient information about the names and identities of each of
 the fictitiously named Doe defendants.
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        Thus, Plaintiffs seek leave to file a Third Amended Complaint to substitute the Doe
 defendants with named defendants. Specifically, Plaintiffs seek to add Fresenius Medical Care
 Holdings, Inc. and Spectra Holdco, LLC as named defendants. It is expected that the Doe
 defendants may argue that the substitution will result in undue prejudice, such that the Doe
 defendants will be prejudiced in defending on the merits. However, the facts suggest that the Doe
 defendants knew or should have known that the action would be brought against them, given the
 conduct underlying the action, namely violations of the federal False Claims Act and its state
 counterparts.

                                                  II.

         Under the Federal Rules of Civil Procedure, a party may amend a pleading with the court’s
 leave, and the court’s leave should be freely given “when justice so requires.” Fed. R. Civ. P.
 15(a)(2). In the absence of “undue delay, bad faith or dilatory motive on the part of the movant,
 undue prejudice to the opposing party, or futility,” the court’s leave should be “freely given” in
 accordance with the Federal Rules. Monahan v. New York City Dep’t of Corr., 214 F.3d 275, 283
 (2d Cir. 2000); see also Foman v. Davis, 371 U.S. 178, 182 (1962). The trend in the Second Circuit
 has been “to allow a party to amend its pleadings in the absence of a showing by the nonmovant
 of prejudice or bad faith.” Block v. First Blood Assocs., 988 F.2d 344, 350 (2d. Cir. 1993); see
 also State Teachers Retirement Bd. v. Fluor Corp., 654 F.2d 843, 856 (2d Cir. 1981).

         First, Plaintiffs have not acted with undue delay, bad faith, or dilatory motive. Plaintiffs
 attempted to serve process on one of the Doe defendants last year. However, on August 19, 2022,
 Plaintiffs received a Notice of Rejected Service of Process, stating that service failed because the
 documents did not correctly identify the intended recipient, such that the process server was unable
 to act. The Notice further stated that the party name appeared to be incomplete and/or that there
 were other errors in the party name. Plaintiffs identified the party as “Fresenius Medical Care,”
 based on that party’s use of “Fresenius Medical Care” in its 2013 Annual Report, in its 2013 Form
 11-K for its Annual Report pursuant to Section 15(d) of the Securities Exchange Act of 1934, and
 in other electronic publications, all of which explicitly reference the party’s relation with
 Defendant Shiel Medical Laboratory. Although Plaintiffs believed that their identification of the
 party was proper, service failed because Plaintiffs did not identify the party by the name “Fresenius
 Medical Care Holdings, Inc.” Plaintiffs therefore attempted to serve process in a timelier manner
 and in good faith, but Plaintiffs failed due to what would otherwise be an insignificant omission.

          Second, substituting the Doe defendants with named defendants in the proposed amended
 complaint will not result in undue prejudice to the defendants. The proposed amended complaint
 will pose no greater prejudice to the Doe defendants than the prejudice (or lack thereof) to which
 they have already been exposed through the initial complaint, First Amended Complaint, and
 Second Amended Complaint. With respect to Fresenius Medical Care Holdings, Inc., the facts
 suggest that it knew or should have known that the action would be brought against it, given that
 it retained counsel and such counsel contacted Plaintiffs’ counsel regarding dismissal of the case
 with prejudice. In fact, counsel for Fresenius Medical Care Holdings, Inc. represented that
 “Fresenius Medical Care Holdings, Inc.” was the proper party to be named in the filings instead
 of “Fresenius Medical Care.” With respect to Spectra Holdco, LLC, the facts similarly suggest that
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 it knew or should have known that the action would be brought against it. Counsel for Fresenius
 Medical Care Holdings, Inc. represented that Spectra Holdco, LLC was the proper party to be
 named in the filings and requested that Plaintiffs’ counsel substitute Shiel Holdings, LLC with
 Spectra Holdco, LLC.

         Third, substituting the Doe defendants with named defendants will develop the factual
 allegations and claims asserted in the Second Amended Complaint. Each of the Doe defendants is
 an individual or corporation which has submitted or caused the submission of false claims, acting
 in concert with one or more of the other defendants. As such, the Doe defendants are crucial to the
 ultimate resolution of the case.

                                                 III.

        Accordingly, for the reasons set forth hereto, Plaintiffs respectfully request that the Court
 schedule a pre-motion conference in anticipation of Plaintiffs’ impending motion for leave to file
 an amended complaint.



                                                                      Respectfully submitted,




                                                                      Morris R. Borea
